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   8
                        UNITED STATES DISTRICT COURT
   9               FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10                         SOUTHERN DIVISION

  11 MARIANO BENITEZ, individually

  12 and on behalf of others similarly       Case No. 8:19-cv-00098 JLS (DFMx)
       situated,
  13                                         ORDER
  14               Plaintiff,

  15         vs.
  16
       POWERLINE FUNDING LLC, a New
  17 York limited liability company,

  18
                   Defendants.
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   1                                        ORDER
   2

   3        Pursuant to the parties’ stipulation, IT IS HEREBY ORDERED that:
   4
            (1) Defendant Powerline Funding LLC shall have up to and including
   5

   6 April 15, 2019 to file its response to the Complaint.

   7   Dated: March 15, 2019
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   9                                             Hon. Josephine L. Staton
  10                                             United States District Judge
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